Case 3:16-md-02741-VC Document 648-9 Filed 10/27/17 Page 1 of 46




             EXHIBIT 9
Case 1:07-cv-01042-ESH
Case 3:16-md-02741-VC Document
                       Document 648-9
                                248-1 Filed
                                      Filed 10/27/17
                                            09/30/11 Page
                                                     Page 21 of
                                                             of 46
                                                                24




              EXHIBIT 1
     Case 1:07-cv-01042-ESH
     Case 3:16-md-02741-VC Document
                            Document 648-9
                                     248-1 Filed
                                           Filed 10/27/17
                                                 09/30/11 Page
                                                          Page 32 of
                                                                  of 46
                                                                     24



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ARIAS, et al.,                            )
                        Plaintiffs,       )
                                          )        Case No.1:01cv01908-RWR-DAR
      v.                                  )
                                          )
                                          )
DYNCORP, et al.,                          )
                        Defendants.       )
__________________________________________)
                                          )
QUINTEROS, et al.,                        )
                        Plaintiffs,       )
                                          )        Case No.1:07cv01042-RWR-DAR
      v.                                  )
                                          )        (Cases Consolidated for Case
                                          )        Management and Discovery)
                                          )
                                          )
DYNCORP, et al.,                          )
                         Defendants.      )
__________________________________________)


                 EXPERT WITNESS REPORT FOR PLAINTIFFS


                               December 17, 2010


                        Michael A. Wolfson, M.D., M.P.H.

             SYRACUSE OCCUPATIONAL AND ENVIRONMENTAL
                       MEDICINE CONSULTANTS
                               P.O. Box 47
                         Dewitt, New York 13214
       Case 1:07-cv-01042-ESH
       Case 3:16-md-02741-VC Document
                              Document 648-9
                                       248-1 Filed
                                             Filed 10/27/17
                                                   09/30/11 Page
                                                            Page 43 of
                                                                    of 46
                                                                       24




                     ADVERSE HEALTH EFFECTS EXPERIENCED
                    BY EQUADORIAN CITIZENS RESULTING FROM
                 AERIAL SPRAYING OF ROUNDUP-BASED HERBICIDES
                  FOR PLAN COLOMBIA COCA PLANT ERADICATION


       I, Michael A. Wolfson, M.D., M.P.H., M.S., hereby submit this report knowing it will be
used on behalf of the plaintiffs listed in the above-captioned case. I make this report, and set
forth my opinions based upon my education, professional experience, and review of the
deposition testimony and plaintiffs’ questionnaires for the 20 test plaintiffs, and a review of the
medical and scientific literature relevant to this matter.

         A copy of my CV is attached as Exhibit “A”. The CV contains my qualifications and a
list of all publications authored by me.

         A list of other cases in which, during the previous four years, I testified as an expert at
trial or by deposition, is attached as Exhibit “B”.

      My standard hourly rates apply to this engagement. My standard rates are as follows:
$400/hour for medical consultation services; $250/hour for travel; and $4,800/day for testimony.

        This report represents my evaluation of the available information regarding the Arias, et
al. v. DynCorp, et al. and Quinteros, et al. v. DynCorp, et al. exposure cases. My opinions set
forth herein are based upon the description of each test plaintiff’s exposure to glyphosate-based
herbicide, as described in each test plaintiff’s deposition and information contained in each
plaintiff’s questionnaire. A chart with a summary of the reported exposure and health effects for
each of the twenty test plaintiffs, as well as other relevant information, is attached as Exhibit
“C”. This evaluation addresses the adverse health effects experienced by the plaintiffs, as well
as future risks they may face, as a result of aerial release of glyphosate-containing herbicides on
or near the plaintiffs’ homes and farms in the Equadorian countryside near the Columbian
border.

       I am a physician licensed to practice medicine in the states of New York, Massachusetts,
and Rhode Island. I received an M.S. in Pharmacology from Northeastern University in 1977, an
M.D. from the State University of New York (SUNY) Health Science Center at Syracuse in
1981, and an M.P.H. from Harvard School of Public Health in 1987. I have been Board Certified
in Family Medicine since 1984. I am Fellowship-trained and Board Certified in Occupational
Medicine (1995) with clinical training in occupational and environmental medicine at Harvard
and the University of Massachusetts Medical Center in Worcester, Massachusetts. I have
engaged in the practice of Occupational and Environmental Medicine for over twenty-two years
while also engaging in research and teaching of attending physicians, medical residents, medical
students, and other health professionals. I have taught at Brown Medical School, Yale School of
Medicine, and Upstate Medical University (UMU), College of Medicine (formerly the State
University of New York (SUNY) Health Science Center at Syracuse). I am currently a lecturer
in Bioethics at Upstate Medical University, College of Medicine. I have evaluated over ten


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       Case 1:07-cv-01042-ESH
       Case 3:16-md-02741-VC Document
                              Document 648-9
                                       248-1 Filed
                                             Filed 10/27/17
                                                   09/30/11 Page
                                                            Page 54 of
                                                                    of 46
                                                                       24



thousand patients with occupational and environmental medicine problems during the course of
my practice. I have rendered thousands of diagnoses and opinions on the causation of disease
involving complex issues of toxic exposures. In addition, my expertise was recognized by the
Chief Judge of the Rhode Island Workers' Compensation Court, who appointed me in 1991 as
one of eleven statewide consultants on the State's first Workers' Compensation Medical Advisory
Board. I have been the Medical Director of Syracuse Occupational and Environmental Medicine
Consultants since 1995.

        My qualifications to offer an opinion in this case, in addition to my extensive training and
expertise in occupational and environmental medicine, include the following. My completion of
intensive residency training in Family Practice (1984) followed by Board Certification in Family
Practice/Family Medicine (1984 and recertification in 1991, 1997, and 2004) qualified me to
practice in multiple areas in addition to internal medicine including, but not limited to, the fields
of pediatrics, obstetrics, gynecology, and community health. My clinical practice since 1984 has
included the care of tens of thousands of infants, children, men, and women, including
environmental and occupational risk assessment and toxic exposure evaluations, diagnoses,
treatment, and referrals.

        In forming my opinions, I have reviewed materials which include, but are not limited to,
the following: questionnaires and depositions for 20 plaintiffs; the expert reports of Dr. Marco
Arturo Campana Karolys; Response from EPA Assistant Administrator Johnson to Secretary of
State, August 19, 2002; CRS Report for Congress, Drug Crop Eradication and Alternative
Development in the Andes, November 18, 2005; a specimen label for Roundup ULTRA
(copyright 2000 by C&P Press); and a Monsanto Co. Roundup Ultra Herbicide MSDS, MON
65005 – 6840-00N085083..

        In addition, I have evaluated relevant peer-reviewed scientific and medical literature
including, but not limited to, that regarding glyphosate, Roundup, and surfactants. Please note
that this report is based on exposure data and medical information that I have received to date
and may be supplemented or amended in the future based on my receipt of additional
information. I also reserve the necessity of amending this report once the U.S. Department of
State has completed its production of documents relating to scientific studies of the harmful
effects of Roundup Ultra, Cosmo-Flux 411F, and any other substances utilized for coca plant
eradication in Columbia.


Source of Exposure

        Based upon State Department and Congressional Research Service (CRS) reports, as well
as other material reviewed for the preparation of this report, I have obtained important
information regarding the aerial spraying of herbicides for Plan Colombia coca plant eradication.
This information has been supplemented by descriptions given by plaintiffs in their
questionnaires and depositions. According to State Department publications, Roundup Ultra,
consisting of 44% glyphosate, 15% surfactant (polyoxyethyleneamine (POEA)), and 55% water,
is mixed by Columbian authorities to produce a coca spray mixture. The coca spray mixture is
composed of 44% Roundup Ultra, 1% Cosmo-Flux 411F, and 55% water. Although disclosure


                                                  2
       Case 1:07-cv-01042-ESH
       Case 3:16-md-02741-VC Document
                              Document 648-9
                                       248-1 Filed
                                             Filed 10/27/17
                                                   09/30/11 Page
                                                            Page 65 of
                                                                    of 46
                                                                       24



of the chemical constituents in Cosmo-Flux 411F has not been made to date, to my knowledge,
this “adjuvant” is likely another form of surfactant.

        The label information for Roundup Ultra, copyrighted in 2000, states: “Do not add
surfactants, additives containing surfactants, buffering agents or pH adjusting agents to the spray
solution when Roundup Ultra herbicide is the only pesticide used.” The coca spray mixture
apparently contains Roundup Ultra as the only pesticide/herbicide in the solution. Therefore, the
coca spray mixture used by Plan Colombia, fails to follow manufacturer’s label directions for the
use of this herbicide. In addition, the Roundup Ultra label directions indicate: “DO NOT
APPLY THIS PRODUCT USING AERIAL SPRAY EQUIPMENT EXCEPT UNDER
CONDITIONS AS SPECIFIED WITHIN THIS LABEL.” Label directions indicate that the
concentration of Roundup Ultra in the final aerial spray solution should be approximately 1.7%
to 8.3% by volume. According to State Department documents, Roundup comprises 44% of the
coca spray mixture, which is approximately 5.3 to 26 times the concentration of Roundup
recommended by the manufacturer for aerial spraying.

        In summary, the coca spray mixture used for Plan Colombia spraying contains
concentrations of Roundup that greatly exceed concentrations recommended by the
manufacturer. In addition, the use of Cosmo-Flux 411F in the coca spray mixture is also
contraindicated by the manufacturer’s label instructions. Therefore, the aerial spraying to which
plaintiffs were exposed through application errors and/or “spray drift” subjected them to
concentrations of toxic substances including, but not limited to, glyphosate and POEA, which
were apparently never contemplated by the manufacturer of Roundup. These concentrations of
toxic substances in the coca spray mixture also greatly exceed concentrations approved for use in
the United States. These excessive concentrations of glyphosate and surfactant are also
markedly greater than the concentrations used in testing in the peer- reviewed literature (see
references below) recognized as causative agents of many of the health effects experienced by
the plaintiffs.

        Finally, glyphosate and glyphosate-based herbicides have been recognized in the peer-
reviewed literature as likely causative agents in the development of several cancers. These
include, but are not limited to, non-Hodgkin’s lymphoma, hairy cell leukemia, and multiple
myeloma. The exposure of the plaintiffs to these herbicides, as a result of aerial spraying, very
likely places them at significant increased risk for the development of cancers in the future.


Current and Potential Health Effects Related to Glyphosate Exposure

        The plaintiffs have experienced acute and chronic health effects from their exposures to
aerial spraying of Roundup-containing coca spray mixtures. The health complaints described
and reported by each of 19 test plaintiffs include, but are not limited to: itchiness to the skin,
nose, and eyes; skin irritation; burning sensation to the skin and eyes; rash; vomiting;
respiratory problems; headaches; dizziness; stomach aches; diarrhea; and burning throat. It is
my opinion, within a reasonable degree of medical certainty, that most, if not all, of the health
complaints experienced by these plaintiffs are consistent with exposure to glyphosate-based
herbicide spray.


                                                 3
Case 1:07-cv-01042-ESH
Case 3:16-md-02741-VC Document
                       Document 648-9
                                248-1 Filed
                                      Filed 10/27/17
                                            09/30/11 Page
                                                     Page 76 of
                                                             of 46
                                                                24
       Case 1:07-cv-01042-ESH
       Case 3:16-md-02741-VC Document
                              Document 648-9
                                       248-1 Filed
                                             Filed 10/27/17
                                                   09/30/11 Page
                                                            Page 87 of
                                                                    of 46
                                                                       24



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                                                5
       Case 1:07-cv-01042-ESH
       Case 3:16-md-02741-VC Document
                              Document 648-9
                                       248-1 Filed
                                             Filed 10/27/17
                                                   09/30/11 Page
                                                            Page 98 of
                                                                    of 46
                                                                       24



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                                                6
      Case
      Case 3:16-md-02741-VC
           1:07-cv-01042-ESH Document
                              Document648-9
                                       248-1 Filed
                                              Filed10/27/17
                                                    09/30/11 Page
                                                              Page10 of 24
                                                                   9 of 46




                                CERTIFICATE OF SERVICE

       I certify that on December 17, 2010, I served a copy of the foregoing via email and U.S.

first class mail, postage prepaid, on the following counsel for defendants:



Rosemary Stewart
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Eric G. Lasker
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                                                     /s/ Susana Tellez
                                                     _______________________________
                                                     Susana Tellez
Case 1:07-cv-01042-ESH
Case 3:16-md-02741-VC Document
                       Document 648-9
                                248-1 Filed
                                      Filed 10/27/17
                                            09/30/11 Page
                                                     Page 11
                                                          10 of
                                                             of 46
                                                                24




             EXHIBIT A
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-1 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 12
                                                                11 of
                                                                   of 46
                                                                      24




                      MICHAEL A. WOLFSON, M.D., M.P.H.

             Syracuse Occupational and Environmental Medicine Consultants
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                               Dewitt, New York 13214
                                    (315) 449-1707
                               www.occ-enviromed.com



BOARD CERTIFICATIONS

Occupational Medicine, 1995 - American Board of Preventive Medicine
Family Practice, 1984; recertified 1991, 1997, 2004 - American Board of Family Practice
Diplomate of the National Board of Medical Examiners


OTHER SPECIALTY CERTIFICATIONS

Alcoholism and Other Drug Dependencies, 1990 - American Society of Addiction
                                                     Medicine

MEDICAL LICENSES

New York Medical License No. 191041
Massachusetts Medical License No. 49891
Rhode Island Medical License No. MD6478 (Currently inactive)



EDUCATION

M.P.H., June 1987
Harvard School of Public Health, Boston, MA

M.D., May 1981
State University of New York, Upstate Medical Center
College of Medicine, Syracuse, NY

M.S. (Pharmacology), May 1977
Northeastern University, Boston, MA

B.A. (Psychology), June 1970
University of Rochester, Rochester, NY
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-1 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 13
                                                                12 of
                                                                   of 46
                                                                      24
Michael A. Wolfson, M.D., M.P.H.                                                 2


PROFESSIONAL TRAINING

Center for Alcohol and Addiction            Post-Doctoral Fellow
       Studies                              September 1988 - September 1989
Brown University
Providence, RI

University of Massachusetts                 Occupational Medicine Fellow
       Medical Center                       July 1987 - June 1988
Worcester, MA

Pawtucket Memorial Hospital                 Resident in Family Medicine
Pawtucket, RI                               June 1981 - June 1984



ACADEMIC AFFILIATIONS

Department of Bioethics and Humanities      Lecturer
SUNY Upstate Medical University             November 2009 – present
Syracuse, NY

Department of Family Medicine               Clinical Instructor
SUNY Health Science Center at Syracuse      June 1995 – April 2004
Syracuse, NY

Department of Preventive Medicine           Clinical Assistant Professor
SUNY Health Science Center at Syracuse      October 1992 - February 1995
Syracuse, NY

Brown University School of Medicine         Physician, Program in Occupational
Providence, RI                              Medicine
                                            Affinity Group Faculty Member
                                            October 1990 - October 1992

Project ADEPT (Alcohol and Drug             Faculty Committee Member
        Education for Physician Training)   February 1989 - October 1992
Center for Alcohol and Addiction Studies
Brown University
Providence, RI
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-1 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 14
                                                                13 of
                                                                   of 46
                                                                      24
Michael A. Wolfson, M.D., M.P.H.                                                3


WORK EXPERIENCE

Medical Advisory Committee                Advisory Committee Member
Health Intervention Project               May 1998 - June 2001
Richmond County Health Department
Augusta, Georgia

Health Services Association of            Family Practice Physician
       Central New York, Inc.             June 1995 - October 1997
Baldwinsville, NY

Syracuse Occupational and Environmental   Medical Director/Medical Consultant
       Medicine Consultants               February 1995 - present
Dewitt, NY

Central New York Occupational             Associate Medical Director
       Health Clinical Center             October 1992 - February 1995
Syracuse, NY

Yale Occupational Medicine Clinic         Occupational Medicine Physician
Groton, CT                                July 1992 - October 1992

State of Rhode Island                     Board Member
Workers’ Compensation Court               Medical Advisory Board
Providence, RI                            January 1992 - October 1992

Union Health Center                       Medical Consultant
International Ladies Garment              January 1992 - October 1992
        Workers Union
Fall River, MA

New Visions Health Center                 Medical Consultant
Tiverton, RI                              October 1991 - October 1992

Braintree Hospital                        Occupational Medicine Staff Physician
Braintree, MA                             October 1990 - June 1991

Faculty Development Workshops             Workshop Faculty Member
Center for Alcohol and Addiction          January 1990 - October 1992
       Studies
Brown University
Providence, RI
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-1 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 15
                                                                14 of
                                                                   of 46
                                                                      24
Michael A. Wolfson, M.D., M.P.H.                                            4


Harvard Community Health Plan            Primary Care Physician
       of New England                    December 1989 - July 1990
Providence, RI                           August 1991 - October 1992

Good Hope Center                         Medical Consultant
West Greenwich, RI                       August 1989 - December 1989

U.S. Public Health Service               Medical Consultant
Occupational Health Unit                 August 1988 - November 1989
Boston, MA

New England Laborers’ Training           Occupational Medicine Consultant
      Academies                          January 1988 - October 1992
Pomfret, CT
Hopkinton, MA

Grafton Job Corps                        Medical Consultant
North Grafton, MA                        October 1987 - September 1988

Health Resources                         Occupational Medicine Consultant
Woburn, MA                               October 1986 - August 1988
                                         July 1990 - September 1990

Marathon House                           Medical Consultant
Providence, RI                           April 1986 - October 1992

Pawtucket Memorial Hospital              Emergency Room Staff Physician
Pawtucket, RI                            July 1985 - September 1986

Walk-In Medical Centers                  Primary Care Physician
Massachusetts and Rhode Island           June 1984 - October 1985
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-1 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 16
                                                                15 of
                                                                   of 46
                                                                      24
Michael A. Wolfson, M.D., M.P.H.                                                      5


INVITED PRESENTATIONS

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      Dube CE, Young CM, Feldman A. “Differences in clinical approaches to
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      Conference of the Association for Medical Education and Research on
      Substance Abuse, Washington, DC, November 1989.

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      clinical care.” National Conference of the Association for Medical Education and
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Liepman MR, Nirenberg TD, Silvia LY, Doolittle R, Broffman TE, Wolfson MA.
      “Sexual coercion by intoxicated husbands.” Fifty-first Annual Conference of
      the National Council on Family Relations, New Orleans, November 1989.



PUBLICATIONS

Himmelstein J., Wolfson M, Pransky G, Morse D, Ross A, Gill J. Lead poisoning in
     bridge demolition workers: Massachusetts. MMWR 1989; 38:687-93.

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      training. Brown University, 1991; III:1-63.

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      primary care residents’ confidence and clinical behavior in treating
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Case 3:16-md-02741-VC Document
                       Document 648-9
                                248-1 Filed
                                      Filed 10/27/17
                                            09/30/11 Page
                                                     Page 17
                                                          16 of
                                                             of 46
                                                                24




             EXHIBIT B
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-1 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 18
                                                                17 of
                                                                   of 46
                                                                      24



                                      TESTIMONY LIST
                                Michael A. Wolfson, M.D., M.P.H.
                                           2006-2010


Fred Beck, et al., vs. Koppers Industries, Inc., et al. - Mississippi
      Depositions - 3/15/06 and 3/16/06

Mary Green, et al. v. Alpharma, Inc., et al. - Arkansas
      Deposition - 2/28/06

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    Pennsylvania
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Scott Ward and Bonnie Ward vs. Carthage Area Hospital and Kenneth Fish, D.O.– New York
      Trial Testimony - 5/19/10

Bolender v. Tops Markets, LLP – New York
     Trial Testimony – 8/18/10
Case 1:07-cv-01042-ESH
Case 3:16-md-02741-VC Document
                       Document 648-9
                                248-1 Filed
                                      Filed 10/27/17
                                            09/30/11 Page
                                                     Page 19
                                                          18 of
                                                             of 46
                                                                24




             EXHIBIT C
                             Case 1:07-cv-01042-ESH
                             Case 3:16-md-02741-VC Document
                                                    Document 648-9
                                                             248-1 Filed
                                                                   Filed 10/27/17
                                                                         09/30/11 Page
                                                                                  Page 20
                                                                                       19 of
                                                                                          of 46
                                                                                             24



                                                    PLAINTIFF INFORMATION SHEET
                                               (Prepared by Michael A. Wolfson, M.D., M.P.H.)


    Name on         DOB      Age         Residence               Reported Exposure              Medical Complaints                       Comments
  Questionnaire                                                    Circumstances
FAMILY OF                          Lives in San Lorenzo in                                                                  Luciano and Rosa lived with their
LUCIANO
                                   the Sucumbios                                                                            children, including Edith and
QUEVEDO
JIMINEZ                            Province, 4 km from                                                                      Robinson.
                                   the Columbian border

Luciano Quevedo   6/5/60     50                              Saw a plane flying near his   Skin itchiness and irritation;   Noticed crops turned yellow; lost
Jimenez-45                                                   farm with a white fog         headache; aching bones; fever    coffee, plantain, cacao, and pasture
                                                             behind the plane; felt                                         land; also lost cattle, pigs, and
                                                             itchiness on his skin                                          chicken.
                                                             afterwards.


Rosa Altamirano   1/9/60     50                              Remembers seeing a thin       Headache, fever, diarrhea,
Miranda                                                      fog coming from a plane.      rash. Believes it has affected
                                                                                           his eyesight.


Edith Quevedo     7/12/95    15                              Remembers seeing a plane      Fever, headache, rash,
Altamirano                                                   with white smoke coming       diarrhea, skin blemishes,
                                                             out of the tail when she      headaches, nose irritation.
                                                             was on the school
                                                             playground at age 5.


Robinson          12/15/00   10                                                            Diarrhea and vomiting
Quevedo
Altamirano
                              Case 1:07-cv-01042-ESH
                              Case 3:16-md-02741-VC Document
                                                     Document 648-9
                                                              248-1 Filed
                                                                    Filed 10/27/17
                                                                          09/30/11 Page
                                                                                   Page 21
                                                                                        20 of
                                                                                           of 46
                                                                                              24
   Plaintiff Information Sheet
   Michael A. Wolfson, M.D., M.P.H.


    Name on         DOB       Age         Residence             Reported Exposure              Medical Complaints                       Comments
  Questionnaire                                                   Circumstances
FAMILY OF                           Lives in Mataje,                                                                       Dociteo lives with his wife and
DOCITEO
                                    Margen Derecho de San                                                                  children, including Edgar and
DANDOVAL
QUINTERO                            Lorenzo, Esmeraldas                                                                    Wilbur.
                                    Province,
                                    approximately 10
                                    meters from the
                                    Columbian border


Dociteo Sandoval   11/25/49   61                            Saw planes spraying near      Itchiness, allergic, vomiting,   He noted that plants withered
Quintero                                                    farm in 2003. Saw white       dizziness, headache              immediately and wildlife died after
                                                            smoke coming out of the                                        the spraying.
                                                            planes and saw that they
                                                            were spraying liquid.
                                                            Hesaw an oily liquid on his
                                                            skin and the ground. He
                                                            saw
Edgar Sandoval     8/30/84    36                            Remembers seeing a plane      Vomiting, headaches,
Cortez                                                      spraying near his father’s    diarrhea, rash, itching,
                                                            farm in 2003 and saw the      allergies
                                                            breeze blow white cloud
                                                            and he watched it fall on
                                                            his father’s farm and
                                                            himself. He saw “oily
                                                            stuff” on the plantains


Wilbur Sandoval    10/3/95    15                            Remembers seeing planes       Itchiness, rash, diarrhea,
Cortez                                                      spraying 3 times. He          headaches, dizziness, stomach
                                                            remembers seeing the mist     aches
                                                            fall on him when he as in
                                                            the schoolyard.




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                              Case 1:07-cv-01042-ESH
                              Case 3:16-md-02741-VC Document
                                                     Document 648-9
                                                              248-1 Filed
                                                                    Filed 10/27/17
                                                                          09/30/11 Page
                                                                                   Page 22
                                                                                        21 of
                                                                                           of 46
                                                                                              24
    Plaintiff Information Sheet
    Michael A. Wolfson, M.D., M.P.H.


    Name on           DOB     Age         Residence               Reported Exposure              Medical Complaints                       Comments
  Questionnaire                                                     Circumstances
FAMILY OF                           Lives in the Village of                                                                 Jorge lives with his wife Laura, their
JORGE SALAS
                                    Chone 1, Sucumbios                                                                      children, including John, and a
TAPIA
                                    Province, 2 km from                                                                     daughter-in-law.
                                    the border of Colombia
                                    and close to the San
                                    Miguel River.
Jorge Salas Tapia   7/21/54   56                              Saw a dark-colored spray      Frequent colds, throat pain,    After the spraying, he noted that
                                                              coming from a plane in        skin irritation, dizziness,     plants changed and wildlife started to
                                                              December 2000. Felt it on     headaches                       disappear. Saw a film on top of the
                                                              his skin. Also saw planes                                     water in the brook. Noticed a
                                                              in May 2001.                                                  different taste to the water. Chicken
                                                                                                                            and pigs started to die after 8 days
                                                                                                                            after the spraying in December 2000.
                                                                                                                            Crops affected. In 2002, cacao
                                                                                                                            bushes died; harvested little coffee;
                                                                                                                            rice and corn didn’t produce
                                                                                                                            anything.

Laura Sanchez       3/8/63    47                              First saw planes spraying –   Respiratory diseases, burning   Noted that 8-15 days later saw
Arevalo                                                       leaving a race of smoke or    nose and eyes, headache,        changes in plants, leaves turned
                                                              fog behind - near their       stomach burning                 yellow; crops died; birds no longer
                                                              farm in June 2002. The                                        flew and the fish died because of the
                                                              wind blew a white cloud                                       contamination in the water.
                                                              over their home. Smelled                                      Told by Dr. Viera that problems and
                                                              like chemicals. Also saw                                      infections to the respiratory tracts
                                                              planes in January 2003 and                                    were caused by exposure.
                                                              October 2003.
John Salas          12/5/93   17                              Remembers seeing planes       Respiratory problems, burning   Noted that leaves on plants turned
Sanchez                                                       on 2 occasions and hearing    throat, bones hurt, headache;   yellow; plants dried up and wildlife
                                                              them on a third. He saw       throat is still burning.        died after 2 weeks; hens, pigs,
                                                              “white smoke” trailing                                        horses, and dogs died.
                                                              behind the planes and fall
                                                              on everything – plants,
                                                              animals, etc. He saw the
                                                              fog and mist come into the
                                                              house, which was open.


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                             Case 1:07-cv-01042-ESH
                             Case 3:16-md-02741-VC Document
                                                    Document 648-9
                                                             248-1 Filed
                                                                   Filed 10/27/17
                                                                         09/30/11 Page
                                                                                  Page 23
                                                                                       22 of
                                                                                          of 46
                                                                                             24
    Plaintiff Information Sheet
    Michael A. Wolfson, M.D., M.P.H.


    Name on        DOB       Age          Residence              Reported Exposure                Medical Complaints                        Comments
  Questionnaire                                                    Circumstances
FAMILY OF                          Lives in the Village of                                                                     Santos lives with his wife Calixta and
SANTOS CALERO
                                   Chone 2, Sucumbios                                                                          their children, including Betty, and
ENCARNACION
                                   Province,                                                                                   granddaughter Yuli.
                                   approximately 500
                                   meters from the
                                   Colombian border.

Santos Calero     11/12/44   66                              Exposed in 2001; saw a          headaches, dizziness,             Santos was told he had infections
Encarnacion                                                  small spraying over the         vomiting, skin infection          because of the fumigations at Marco
                                                             river.                                                            Vinicio Iza Hospital.


Calixta Pineda    11/2/44    66                              Remembers seeing planes         Headaches, queasiness,            Calixta was told that she could have
Bravo                                                        spraying herbicide near         pimples and itching on the        gotten sick from drinking rainwater
                                                             their farm in August 2003.      skin, body pains, uterine         contaminated by glyphosate from
                                                             It was like a fog that issued   infections. Discussed prior       fumigation; told it cold give her
                                                             out of the planes. A white      liver and kidney problems in      uterine cancer.
                                                             fog. It smelled…like a          the deposition.                   Noticed black spots on plants, and
                                                             chemical.                                                         then crops died.


Betty Calero      12/11/74   36                              Remembers seeing planes         Headache, itchiness, dizziness,
Pineda                                                       and helicoptors spraying        cold, throat pain
                                                             along the border in August
                                                             2003.
Yuli Calero       6/18/98    12                                                              Skin irritation, vomiting,
Pineda                                                                                       headache, dizziness, bronchitis




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                               Case 1:07-cv-01042-ESH
                               Case 3:16-md-02741-VC Document
                                                      Document 648-9
                                                               248-1 Filed
                                                                     Filed 10/27/17
                                                                           09/30/11 Page
                                                                                    Page 24
                                                                                         23 of
                                                                                            of 46
                                                                                               24
    Plaintiff Information Sheet
    Michael A. Wolfson, M.D., M.P.H.


    Name on          DOB       Age         Residence               Reported Exposure               Medical Complaints                      Comments
  Questionnaire                                                      Circumstances
FAMILY OF                            Lives in Puerta                                                                          Victor lives with Ercilia and their
VICTOR
                                     Mestanza, Province of                                                                    children. Son Edy and Edy’s
MESTANSA
LLANOS                               Sucumbios,                                                                               daughter Jennifer lived there at
                                     approximately 100                                                                        different times. Jennifer lived on the
                                     meters from the border.                                                                  farm from 2000-2002, during the
                                                                                                                              spraying.

Victor Mestansa     3/10/50    60                              First saw planes flying near   Stinging of eyes, burning       Noted that the fumigation killed his
Llanos                                                         his farm at the end of 2000    throat, dizziness, headaches,   crops and fish, hens, and ducks.
                                                               for 3 days. He described       stomach aches, pimples on the   Animals began to die instantly;
                                                               seeing white smoke             skin, gastric problems, skin    plants turned yellow the next day.
                                                               coming from the planes.        infections                      Corn didn’t die but didn’t produce.
                                                               As it was carried by the
                                                               wind, it “fell over my
                                                               property.” He also saw 4
                                                               helicopters. He also saw
                                                               planes spraying in 2002.


Ercilia Martina     11/11/52   58                              Remembers seeing               Headaches, respiratory
Bosquez Garcia                                                 spraying in 2000 and 2002.     problems, skin rash, stomach
                                                                                              ache, diarrhea, itching nose,
                                                                                              burning throat; has had
                                                                                              stomach ache, sore throat and
                                                                                              rash since exposure.


Jennifer Mestanza   6/17/96    14                              Remembers spray8ing on 2       Headache, stomach ache,
Bosquez                                                        different occasions.           itchiness, white spots on the
                                                               Remembers a white cloud        skin, eyes burned, and
                                                               coming from the planes         dizziness
                                                               and being frightened.




                                                                                5
                             Case 1:07-cv-01042-ESH
                             Case 3:16-md-02741-VC Document
                                                    Document 648-9
                                                             248-1 Filed
                                                                   Filed 10/27/17
                                                                         09/30/11 Page
                                                                                  Page 25
                                                                                       24 of
                                                                                          of 46
                                                                                             24
   Plaintiff Information Sheet
   Michael A. Wolfson, M.D., M.P.H.


    Name on        DOB       Age         Residence               Reported Exposure               Medical Complaints                      Comments
  Questionnaire                                                    Circumstances
FAMILY OF                          Lives in San Lorenzo in                                                                 Edgar lives with his wife and 2
EDGAR
                                   the Province of                                                                         children.
BALCAZAR
BRAVO                              Sucumbios, 5 km from
                                   the Colombian border.
Edgar Balcazar    11/11/70   40                              2001 or 2002 (in               Dizziness, pain all over the
Bravo                                                        questionnaire). Remembers      body, headaches, dizziness,
                                                             seeing a “white cloud”         diarrhea, stomach ache,
                                                             coming out of planes           problems breathing, burning
                                                             spraying along the             of the eyes
                                                             Colombian border. As the
                                                             clouds dissipated, he
                                                             remembers a “bad smell”
                                                             and felt a sensation on his
                                                             skin.
FAMILY OF ALVIA                    Lives in Town of                                                                        Alvia lives with her children; her
ALVAREZ
                                   Riberas del Oriente, 2                                                                  husband is deceased.
VARGAS
                                   km from San Pedro-El
                                   Condor, Province of
                                   Sucumbios, 3 km from
                                   the Colombian border
Alvia Alvarez     4/13/56    54                              2002-2006; April 6, 2001       Body aches, headaches,         Noted that plants recovered a little
Vargas                                                       saw 5 planes and 6             dizziness, stomach ache,       after fumigations ended, but not like
                                                             helicopters spraying while     diarrhea, spitting up blood    before; there are no birds or fish left;
                                                             she was on her farm; drops                                    crops died.
                                                             of water fell like a fog. It
                                                             was white.




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Case
Case 3:16-md-02741-VC
     1:07-cv-01042-ESH Document
                        Document648-9
                                 248-2 Filed
                                        Filed10/27/17
                                              09/30/11 Page
                                                        Page26 of 21
                                                             1 of 46




              EXHIBIT 2
     Case
     Case 3:16-md-02741-VC
          1:07-cv-01042-ESH Document
                             Document648-9
                                      248-2 Filed
                                             Filed10/27/17
                                                   09/30/11 Page
                                                             Page27 of 21
                                                                  2 of 46




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ARIAS, et al.,                            )
                        Plaintiffs,       )
                                          )        Case No.1:01cv01908-RWR-DAR
      v.                                  )
                                          )
                                          )
DYNCORP, et al.,                          )
                        Defendants.       )
__________________________________________)
                                          )
QUINTEROS, et al.,                        )
                        Plaintiffs,       )
                                          )        Case No.1:07cv01042-RWR-DAR
      v.                                  )
                                          )        (Cases Consolidated for Case
                                          )        Management and Discovery)
                                          )
                                          )
DYNCORP, et al.,                          )
                         Defendants.      )
__________________________________________)


           EXPERT WITNESS REBUTTAL REPORT FOR PLAINTIFFS


                               February 11, 2011


                        Michael A. Wolfson, M.D., M.P.H.

             SYRACUSE OCCUPATIONAL AND ENVIRONMENTAL
                       MEDICINE CONSULTANTS
                               P.O. Box 47
                         Dewitt, New York 13214
       Case
       Case 3:16-md-02741-VC
            1:07-cv-01042-ESH Document
                               Document648-9
                                        248-2 Filed
                                               Filed10/27/17
                                                     09/30/11 Page
                                                               Page28 of 21
                                                                    3 of 46




                         REBUTTAL REPORT IN RESPONSE TO
                         DEFENSE EXPERT WITNESS REPORTS
                        MICHAEL A. WOLFSON, M.D., M.P.H., M.S.

                    ADVERSE HEALTH EFFECTS EXPERIENCED
                   BY ECUADORIAN CITIZENS RESULTING FROM
                AERIAL SPRAYING OF ROUNDUP-BASED HERBICIDES
                 FOR PLAN COLOMBIA COCA PLANT ERADICATION


        I, Michael A. Wolfson, M.D., M.P.H., M.S., hereby submit this report knowing it will be
used on behalf of the plaintiffs listed in the above-captioned case. I make this report, and set
forth my opinions based upon my education; my professional experience; and my review of the
reports submitted by defense experts, plaintiffs’ deposition testimony and questionnaires, the
medical and scientific literature relevant to this matter, and other material listed below.

        I submitted an expert report in this case on December 17, 2010. I am submitting this
rebuttal report in response to reports filed by Defendant’s experts on January 20, 2011. This
report represents my evaluation and rebuttal of the opinions offered by the Defendant’s experts,
using available information regarding the Arias, et al. v. DynCorp, et al. and Quinteros, et al. v.
DynCorp, et al. exposure cases. My December, 2010 expert report summarized my initial
opinions regarding the plaintiffs’ exposures and the adverse health effects the plaintiffs have
experienced. I also assessed future risks to the plaintiffs’ health, as a result of past and future
aerial spray exposures to glyphosate-containing herbicides (GBH) on or near the plaintiffs’
homes and farms in the Ecuadorian countryside near the Colombian border.

       I am a physician licensed to practice medicine in the states of New York, Massachusetts,
and Rhode Island. I received an M.S. in Pharmacology from Northeastern University in 1977, an
M.D. from the State University of New York (SUNY) Health Science Center at Syracuse in
1981, and an M.P.H. from Harvard School of Public Health in 1987. I have been Board Certified
in Family Medicine since 1984. I am Fellowship-trained and Board Certified in Occupational
Medicine (1995) with clinical training in occupational and environmental medicine at Harvard
and the University of Massachusetts Medical Center in Worcester, Massachusetts. I have
engaged in the practice of Occupational and Environmental Medicine for over twenty-two years
while also engaging in research and teaching of attending physicians, medical residents, medical
students, and other health professionals. I have taught at Brown Medical School, Yale School of
Medicine, and Upstate Medical University (UMU), College of Medicine (formerly the State
University of New York (SUNY) Health Science Center at Syracuse). I am currently a lecturer
in Bioethics at Upstate Medical University, College of Medicine. I have evaluated over ten
thousand patients with occupational and environmental medicine problems during the course of
my practice. I have rendered thousands of diagnoses and opinions on the causation of disease
involving complex issues of toxic exposures. In addition, my expertise was recognized by the
Chief Judge of the Rhode Island Workers' Compensation Court, who appointed me in 1991 as
one of eleven statewide consultants on the State's first Workers' Compensation Medical Advisory
Board. I have been the Medical Director of Syracuse Occupational and Environmental Medicine
Consultants since 1995.


                                                 1
       Case
       Case 3:16-md-02741-VC
            1:07-cv-01042-ESH Document
                               Document648-9
                                        248-2 Filed
                                               Filed10/27/17
                                                     09/30/11 Page
                                                               Page29 of 21
                                                                    4 of 46




        My qualifications to offer an opinion in this case, in addition to my extensive training and
expertise in occupational and environmental medicine, include the following. My completion of
intensive residency training in Family Practice (1984) followed by Board Certification in Family
Practice/Family Medicine (1984 and recertification in 1991, 1997, and 2004) qualified me to
practice in multiple areas in addition to internal medicine including, but not limited to, the fields
of pediatrics, obstetrics, gynecology, and community health. My clinical practice since 1984 has
included the care of tens of thousands of infants, children, men, and women, including
environmental and occupational risk assessment and toxic exposure evaluations, diagnoses,
treatment, and referrals.

        In forming my opinions, I have reviewed materials which include, but are not limited to,
the following: reports submitted by defense expert consultants Robert I. Krieger, Gary M.
Williams, M.D., Joseph M. DiTomaso, Seymour Grufferman, M.D., and Roger D. Smalligan,
M.D.; Toxicology Medical Reports for Edgar Balcazar Brazo and the Quevado Family; the
Report on the Investigation of the Impacts of the Fumigations Along the Ecuadorian Border by
Dr. Adolfo Maldonado, et al, June 2001; Green Alert 115, “The Fumigations are Dangerous”,
September 2001; questionnaires and depositions for 20 plaintiffs; the expert reports of Dr.
Marco Arturo Campana Karolys; Response from EPA Assistant Administrator Johnson to
Secretary of State, August 19, 2002; CRS Report for Congress, Drug Crop Eradication and
Alternative Development in the Andes, November 18, 2005; a specimen label for Roundup
ULTRA (copyright 2000 by C&P Press), a label for Cosmo-Flux 441 F, and a label for Roundup
Pro; a Monsanto Co. Roundup Ultra Herbicide MSDS, MON 65005 – 6840-00N085083; a
document with the chemical composition of Cosmo-Flux 411 F; and confidential documents
provided by defendants.

        In addition, I have evaluated relevant peer-reviewed scientific and medical literature
including, but not limited to, material regarding toxicological, environmental, and human health
effects of herbicides, glyphosate (G), Roundup and surfactants; principles and practices of
occupational and environmental medicine; principles of clinical toxicology, preventive medicine,
and public health; and animal and human carcinogenesis. A list of references is included at the
end of this report. Please note that this report is based on exposure data and medical information
that I have received to date and may be supplemented or amended in the future based on my
receipt of additional information. I also reserve the necessity of amending this report once the
U.S. Department of State has completed its production of documents relating to scientific studies
of the harmful effects of Roundup Ultra, Cosmo-Flux 411F, and any other substances utilized for
coca plant eradication in Colombia or related to Plan Colombia.



       In reviewing the reports from Defendant’s experts, it is clear that they have disregarded a
considerable collection of literature identifying cytotoxic, genotoxic, mutagenic, and
carcinogenic effects of glyphosate-based herbicide (GBH) formulations (including many forms
of Roundup, such as those used in the Plan Colombia spraying). These toxicologic effects have
been identified in numerous animal species as well as humans. The adverse effects of glyphosate
and glyphosate-based herbicide formulations must be considered in any evaluation of the past,


                                                  2
       Case
       Case 3:16-md-02741-VC
            1:07-cv-01042-ESH Document
                               Document648-9
                                        248-2 Filed
                                               Filed10/27/17
                                                     09/30/11 Page
                                                               Page30 of 21
                                                                    5 of 46




present, and future health status of the plaintiffs in this case as well as other innocent bystanders
who have been or may be subject to exposures from Plan Colombia spraying. As a result of
DynCorp’s and its consultants’ utilization of outdated and unreliable U.S. regulatory information
(and apparent aerial eradication procedures, which I believe, clearly violate U.S. government
standards for herbicide use as well as common sense and public health standards), the plaintiffs
and other exposed bystanders have unfortunately become “collateral damage” of Plan Colombia.

        The hazards of aerial spraying of pesticides (including GBH) have been recognized for
years before Plan Colombia aerial eradication began.1 It has been noted in regard to GBH, that a
buffer zone as wide as 1200 meters surrounding the target spray zone could be necessary to
prevent damage to untargeted vegetation2. The literature regarding aerial spraying and drift
parallels the development of the substantial body of peer-reviewed scientific and medical
literature implicating G and GBH in the development of animal and human cancers.3 EPA
apparently disregarded this information in its continuing registration and re-registration of
Roundup and other GBHs.

        Although, as noted above, a substantial body of literature has identified causative links
between G and GBH exposures and animal carcinogenesis as well as several human
lymphohematopoietic cancers (non-Hodgkin’s lymphoma (NHL), hairy cell leukemia (HCL),
and multiple myeloma (MM)),4 EPA, other regulatory bodies, and government and international
agencies (USDOS, OAS, etc.) have failed to take these hazards into consideration when making
policy decisions. Defendants, their expert consultants, and DOS have relied upon EPA
assertions of the safety of G and GBH in defending the activities undertaken through Plan
Colombia eradication efforts. Therefore, it is my opinion that this program disregards the
recognized hazards posed by chemical agents such Roundup and other herbicides.

       Documents describing the Plan Colombia Program refer to the need for secrecy regarding
the schedule and location of aerial eradication activities in order to protect the pilots and other
DynCorp and Department of State (DOS) employees from risks associated with engaging in a
systematic program of coca plant eradication5. Unfortunately, this results in the lack of
appropriate environmental health protection for uninformed and unsuspecting Ecuadorian
residents, such as the plaintiffs, who have no foreknowledge of spraying activities in order to
adequately protect themselves and their children.

        One of the primary principles of occupational and environmental medicine is the
avoidance of exposures, disease, and injuries through appropriate preventive measures. It is well
known to both medical and public health professionals and citizens in the United States that
exposures to pesticides place individuals at significant risk for adverse health effects. When
limited aerial pesticide spraying programs are planned in the United States (e.g. aerial spraying
of a swampy regions or wetlands to eradicate mosquitoes carrying West Nile Virus or Eastern

1
  Payne, 1990
2
  ibid.
3
  ibid; De Roos, 2005, etc.
4
  De Roos, 2005; Erikkson, 2008; Hardell, 1999; Hardell, 2002; etc.
5
  U. S. Department of State, 2002

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       Case
       Case 3:16-md-02741-VC
            1:07-cv-01042-ESH Document
                               Document648-9
                                        248-2 Filed
                                               Filed10/27/17
                                                     09/30/11 Page
                                                               Page31 of 21
                                                                    6 of 46




Equine Encephalitis (EEE)), significant advance public warnings are given through various news
media advising individuals to take certain measures to avoid exposures to spraying. This
responsible public health behavior is clearly lacking as a component of the Plan Colombia
Program. The results have been inadvertent and occasionally widespread overspray and/or aerial
drift of GBH, resulting in exposures to the plaintiffs in this case and likely exposure to other
uninformed bystanders as well.


Acute and Chronic Health Effects of Glyphosate-Based Herbicides

        According to the plaintiffs’ accounts of their exposures, they were unaware at the time of
the exposures of measures to take to minimize the acute and chronic effects. Such measures
would include immediately flushing the eyes and skin with “plenty of water”; removing
contaminated clothing immediately followed by washing/bathing and changing clothing; and
seeking prompt medical attention for any persistent symptoms.6 In view of the human health
effects of acute unprotected exposure to GBH from unexpected aerial spraying, it is not
surprising that the plaintiffs in this case have reported varying symptoms and signs of acute toxic
exposure/illness associated with GBH ingestion, inhalation, and dermal contact (described in the
Plaintiff Information Sheet attached to my December 17, 2010 report).

        The plaintiffs’ medical complaints are consistent and include, but are not limited to, acute
and chronic eye, nose, and throat irritation as well as vision problems; headache; dizziness;
cough; skin irritation and rash; sore throat; respiratory problems; body aches; fever; vomiting;
and diarrhea.7 These medical complaints, associated with GBH exposures, have been described
in detail in the medical literature.8,9,10 A description of these symptoms and signs of illness,
resulting from GBH exposure from aerial spraying, have been confirmed by Dr. Adolfo
Maldonado and others in his group working with Accion Ecologica. These adverse health
effects have been reported by Dr. Maldonado in individuals residing along the border of Ecuador
and Colombia, where Plan Colombia spraying with GBH has taken place. Dr. Maldonado
reports that 100% of residents living within 5 kilometers of the border have complained of
symptoms and signs of illness markedly consistent with direct exposure to aerial spraying of
GBH. Within a 10 kilometer strip of land along the border where spraying has taken place, Dr.
Maldonado reports that 89% of the individuals have reported or have been found to have adverse
health effects related to unprotected GBH exposures.11 [A copy of his report is attached as
Exhibit “B”.]

       Dr. Maldonado also reported that a significant percentage (approximately 1/3) of
individuals with symptoms and signs caused by GBH spraying exposures had persistent
symptoms of illness, including “fever, migraines, irritation of conjunctivas, diarrheas,

6
  See Exhibit “A” - Roundup Ultra Label
7
  Plaintiffs’ questionnaires and depositions, etc.
8
  Ellenhorn; Goldfrank; Keifer, 1997; etc.
9
  Roundup Ultra MSDS
10
   Cosmo-Flux 411 F MSDS
11
   Dr. Maldonado’s Report, Exhibit “B”

                                                     4
      Case
      Case 3:16-md-02741-VC
           1:07-cv-01042-ESH Document
                              Document648-9
                                       248-2 Filed
                                              Filed10/27/17
                                                    09/30/11 Page
                                                              Page32 of 21
                                                                   7 of 46




vomiting…with a bigger presence of skin illnesses.”12 Dr. Maldonado’s June 2001 report
exhibits the consistency of the reported illnesses with the spraying. The time frame of the
development of symptoms and their persistence, the relationship of the percentage of residents
and the severity of their symptoms to their distance from the spray area, the large percentage of
individuals with similar or identical health complaints in proximity to the spray areas, and
concurrent descriptions of plant and animal damage provide consistent evidence of causation
related to exposure to GBH aerial spraying.13

        As noted above, the plaintiffs’ exposures to GBH render them at increased risk for
chronic adverse health effects including persistent skin photosensitivity and rashes and upper
respiratory tract irritation/inflammation.14 The irritative effects of GBH have been attributed, in
many instances, to the corrosive characteristics of surfactants such as POEA. In addition, as
noted above, the medical and scientific literature has long recognized the genotoxic, mutagenic,
and carcinogenic properties of GBHs.15 For over 20 years, California has classified glyphosate
as a mouse oncogen16. Carcinogenesis in other species has also been recognized in the scientific
literature. In addition, an expanding body of medical literature for more than a decade has
identified G and GBHs as human carcinogens which pose significant causative risks for NHL,
HCL, and MM.17 The plaintiffs are at increased risk for developing these lymphohematopoietic
cancers.

        It should be noted that the International Agency for Research on Cancer (IARC) has
provided cautionary guidance regarding toxic carcinogenic exposures long before the Plan
Colombia spraying began. IARC has asserted that even “in the absence of adequate data on
humans, it is biologically plausible and prudent to regard agents and mixtures for which there is
sufficient evidence (see p. 24) of carcinogenicity in experimental animals as if they presented a
carcinogenic risk to humans.”18 This caution was apparently not heeded in the development of
Plan Colombia and the use of GBH although there were both animal and human reports in the
literature of carcinogenicity of G and GBH.


EPA Regulations and Standards are Outdated and Not Protective of Human Health

       A review of the EPA Integrated Risk Information System (IRIS) document on
Glyphosate, last updated on January 11, 2011,19 indicates that the assessment of the chronic oral
exposure Reference Dose (RfD) for non-carcinogenic effects was last revised on September 1,
1990. An inhalation exposure category section, for Reference Concentration (RfC), contains no
data gathered or assessed by the EPA. Finally, the EPA’s glyphosate carcinogenicity assessment

12
   ibid.
13
   Goldfrank, 2002; Keifer, 1997; Rosenstock & Cullen; Ellenhorn; etc.
14
   Ellenhorn; Keifer, 1997; etc.
15
   De Roos, 2005; Erikkson, 2008; Hardell, 1999; Hardell, 2002; etc.
16
   Ellenhorn; etc.
17
   De Roos, 2005; Erikkson, 2008; Hardell, 1999; Hardell, 2002; etc.
18
   WHO, 1997
19
   U.S. EPA IRIS, 1993

                                                 5
      Case
      Case 3:16-md-02741-VC
           1:07-cv-01042-ESH Document
                              Document648-9
                                       248-2 Filed
                                              Filed10/27/17
                                                    09/30/11 Page
                                                              Page33 of 21
                                                                   8 of 46




was last revised on October 1, 1993. Therefore, the RfD or oral intake for humans of 0.1
mg/kg/day, which allegedly represents a daily exposure “that is likely to be without an
appreciable risk of [non-carcinogenic] deleterious effects during a lifetime”20 is long outdated.
Furthermore, the “principal and supporting studies” on which the EPA based its RfD
determinations were all produced by the Monsanto Company, the original U.S. patent-holder,
manufacturer, and supplier of GBHs.

        The EPA IRIS document also indicates that developmental toxicity and carcinogenicity
assessments were based solely on Monsanto studies produced in the 1980s. The only references
in the EPA IRIS bibliography for glyphosate are Monsanto documents. This sole reliance on
manufacturers’ information represents an inherent conflict of interest in the development of
government regulations to protect the public health and renders the EPA’s conclusions about
safety wholly unreliable. Furthermore, any assertion by the defendant and/or its experts of G or
GBH safety or lack of environmental or human health effects based upon EPA research or
regulatory determinations is also unreliable. This lack of validity and reliability of expert
opinions based on long outdated EPA determinations/regulations also applies to defendant’s
experts’ reliance on published research in which conclusions about safety and toxicologic effects
incorporate these EPA standards.21

          In regard to the general issue of registration of pesticides and specifically to the
registration and re-registration of glyphosate, the EPA has not and does not require independent
– i.e., not manufacturer-funded – proof of adequate assurance of human health and safety for the
registration of pesticides. Furthermore, upon information and belief, when the EPA determines
that a pesticide lacks an adequate margin of safety in normal use to protect human health,
revoking registration places an undue financial burden on the EPA and taxpayers. The EPA may
prohibit the further manufacture and sale of a pesticide that loses its registration. However, loss
of registration requires the EPA by law to purchase any remaining stock of already manufactured
pesticide or to allow the sale of a pesticide already deemed unsafe for use until remaining stocks
are depleted. Examples of pesticides that have lost their registration and were “unloaded” on the
public at “fire sale” prices have been 2,4,5-trichlorophenoxy acetic acid (2,4,5-T), a component
of Agent Orange contaminated with the potent carcinogen 2,3,7,8 tetrachlorodibenzo dioxin
(2,3,7,8-TCDD), and the carcinogenic organochlorine pesticide, chlordane.

       The Plan Colombia coca eradication aerial spraying activities do not, upon information
and belief, do not apparently comply with even the often inadequate safety standards required by
the EPA and state regulatory agencies for the use of pesticides in the United States. Therefore,
DynCorp, a U.S. corporation, acting under with the approval of the U.S. Department of State and
the U.S. EPA, has engaged in herbicide crop eradication activities that would violate U.S.
regulatory standards of the EPA, as well as the standards of other regulatory and scientific
agencies. The plaintiffs in this case have been, as noted above, unwarned, uninformed, and
unprotected by standards subjected to the toxicologic risks of Plan Colombia aerial spraying
without their knowledge or consent.

20
  ibid.
21
  ibid; other EPA documents; DOS documents reliant on EPA opinions; OAS CICAD reliant
upon EPA; Monsanto documents; Williams, 2000; Solomon, 2005; etc.

                                                 6
       Case
       Case 3:16-md-02741-VC
            1:07-cv-01042-ESH Document
                               Document648-9
                                        248-2 Filed
                                               Filed10/27/17
                                                     09/30/11 Page
                                                               Page34 of 21
                                                                    9 of 46




Manufacturer’s Instructions for Use of Roundup Ultra Have Been Disregarded by Defendants

        Based on Monsanto’s precautionary statements, and even in view of the already
described inadequate hazard assessment of this product for at least the past 2 decades,
Monsanto’s directions for use include warnings about drift resulting from accidents or improper
use. The use requirements include details regarding the personal protective equipment (PPA)
and “restricted entry interval” (REI). Individuals are not to enter treated areas for at least 4 hours
after spraying, entry before 4 hours requires “coveralls, waterproof gloves, shoes plus socks.”
Under precautionary statements, Monsanto’s safety recommendations include “1) Wash hands
before eating, drinking, chewing gum, using tobacco or using the toilet.” 2) Remove clothing
immediately if pesticide gets inside. Then wash thoroughly and put on clean clothing.
Monsanto also warns that the product should be kept out of reach out of children and that it
causes eye irritation which requires medical attention if “irritation persists”. Exposure to
domestic animals by ingestion “may result in temporary gastrointestinal irritation (vomiting,
diarrhea, colic, etc.).” Animal symptoms persisting for longer than 24 hours require veterinary
attention.22 (See also below under summary of opinion of defense expert Joseph M. DiTomaso.)
A copy of this label, the Roundup Ultra 11/1/95 MSDS, and the Cosmo-Flux 411F MSDS
(3/8/07 Safety Data Sheet) are included as Exhibit “A”.

        As also noted in my prior report, Monsanto provides detailed directions for “Application,
Equipment, and Techniques”.23 Under “Aerial Equipment”, Monsanto states, “Do not apply this
product using aerial spray equipment except under conditions as specified within this label.”
The label continues: “Use the recommended rates of this herbicide in 3 to 15 gallons of water
per acre unless otherwise specified on this label. Unless otherwise specified, do not exceed 1
quart per acre.” These directions result in a maximum concentration of Roundup Ultra in the
final spray solution of approximately 1.7% to 8.3% by volume, mixed with water. According to
24




Plan Colombia and Defendants’ Experts Have Relied on Outdated Government Standards and
Regulations and Medical and Scientific Literature Regarding the Safety of G and GBH


Summary of Experts’ Opinions:

        There is no basis for defense experts’ assertions that Plan Colombia herbicide spraying
could not cause plaintiffs’ health complaints and medical conditions or that plaintiffs’ exposures
could lead to chronic medical problems, including the development of cancer.




22
   See Exhibit “A”, Roundup Ultra label and MSDS
23
   ibid.
24
   U.S. DOS, 2002

                                                  7
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-2 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 35
                                                                10 of
                                                                   of 46
                                                                      21



       Joseph M. DiTomaso, Ph.D., Botanist

        Dr. DiTomaso, in his “Summary of Expert Opinions”, incorrectly asserts that I have
concluded that “the labeling for the glyphosate formulation used for the Plan Colombia spray
mixture categorically prohibits the use of an additional surfactant like Cosmo-Flux.”25 I did, in
fact, quote the 2000 Roundup Ultra label, which clearly admonishes users for adding extra
surfactants other than the polyoxyethyleneamine (POEA) contained in the Roundup Ultra
Monsanto product. Furthermore, the Monsanto label states: “This is an end use product.
Monsanto does not intend and has not registered it for reformulation.” [A copy of this label and
the Roundup Ultra 11/1/95 MSDS are included as Exhibit “A”.]

       The U.S. Department of State has indicated that the coca spray mixture used in the Plan
Colombia program contains 44% Roundup Ultra, 1% Cosmo-Flux 411F, and 55% water. This
mixture is applied at “a rate of 2.53 gallons per acre.”26 At this rate, with a 44% concentration of
Roundup Ultra, 142.5 ounces (4.45 quarts or 1.11 gallons) of Roundup Ultra per acre is being
applied through aerial spraying of coca growing areas. The maximum amount of Roundup Ultra
(RU) to be utilized in aerial spraying, according the Monsanto label, is 32 ounces RU in 3 to 15
gallons of water per acre. In exceptional circumstances, up to 48 ounces of RU in 3 to 5 gallons
of water per acre may be utilized in aerial spraying. Given the maximal manufacturer’s
recommended use of 48 ounces per acre, approximately 3 to 4.5 times the amount of RU per acre
has been applied through Plan Colombia aerial spraying.


       Robert I. Krieger, Ph.D., Entomologist

        Dr. Krieger, according to his stated background and credentials, has no medical training,
medical degree, or medical license. However, he has offered numerous medical opinions in his
report. Although he asserts that he has experience in “environmental, human and animal
toxicology; risk characterization; and risk assessment”, upon information and belief, he has not
evaluated or treated patients as a physician. Therefore, due to his lack of medical experience, I
have disregarded his clinical opinions regarding the plaintiffs in this case. However, I will
address some of the numerous errors and misrepresentations of my opinions and the literature
contained in his report.

        Dr. Krieger claims that “no one has independently verified – much less characterized or
quantified - the test plaintiffs’ alleged exposure to Plan Colombia spray mixture or the
supposedly toxic dose that each plaintiff may have derived from that exposure.” To the contrary,
Dr. Maldonado and the clinicians who cared for the plaintiffs and other Ecuadorians who sought
medical assistance for illnesses related to their exposures to GBH spraying, have characterized
the exposures sufficiently.27




25
   Expert report of Joseph M. DiTomaso, Ph.D.
26
   U. S. DOS, 2002
27
   See Exhibit “B”, Dr. Maldonado’s report

                                                 8
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-2 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 36
                                                                11 of
                                                                   of 46
                                                                      21



        Dr. Krieger’s criticism of the lack of exposure quantification is inappropriately directed
at the Ecuadorian plaintiffs. Had DynCorp, the DOS, and the EPA appropriately recognized the
risks involved to innocent inhabitants of the targeted spray zones, a program paid for by
DynCorp, Colombia, and/or the DOS could have been implemented to measure and characterize
the environmental (air, water, soil, indoor dust) exposure concentrations before, during, and after
spraying. An additional biologic monitoring program could have been implemented to
characterize the exposures of every individual in or near the spray zone by testing for glyphosate
in blood and urine and aminomethyl phosphonic acid (AMPA) in urine.28 One group in Ecuador
has performed testing of blood samples of Ecuadorians exposed to glyphosate and found clear
evidence of DNA damage in the exposed individuals.29.

        However, in the history of occupational and environmental medicine (i.e., in the long
history of the use of toxic substances whose characteristics are known to the informed user and
not to the uninformed but exposed), withholding information regarding risk or harm is the rule
rather than the rare exception. This appears to be the case in the Plan Colombia spraying of
bystanders.

        In my December 17, 2010, report, I offered the opinion that the plaintiffs’ health
complaints were “consistent with exposure to glyphosate-based herbicide spray.” My original
opinion is clearly consistent with the depositions and questionnaire of the plaintiffs as well as the
report of Dr. Marco Arturo Campana. I have expanded my opinion, as noted above, based on the
previously available material as well as the report of Dr. Maldonado and additional material and
literature, which I reviewed. Dr. Krieger also denies that GBH “in any relevant amount can
cause chronic injuries.” This claim is incorrect and refuted the extensive literature discussed
above regarding GBH carcinogenicity.

        Dr. Krieger is categorically wrong when he states that G and GBH “are virtually non-
toxic to humans an terrestrial animals at typical levels of exposure.”30 In addition, the EPA
“conclusion as to the safety of glyphosate”31 has been adequately refuted above. Dr. Krieger’s
claims about the EPA’s “sound regulatory process” and “generally-accepted exposure standards”
are also refuted above. Finally, Dr. Krieger references the outdated and unreliable EPA RfD
derived from a claimed No Observed Adverse Effect Level (NOAEL) for glyphosate echoed
incorrectly by Dr. Williams (another defense expert), whose review he cites as an authoritative
source.32 In summary, his opinions are not reliable and are refuted by the medical and scientific
literature cited throughout this report.




28
   Lauwerys RL, 2001.
29
   Paz-y-Miño, 2007; etc.
30
   De Roos, 2005, etc.
31
   Krieger report, page 7
32
   Williams, 2000

                                                  9
        Case 1:07-cv-01042-ESH
        Case 3:16-md-02741-VC Document
                               Document 648-9
                                        248-2 Filed
                                              Filed 10/27/17
                                                    09/30/11 Page
                                                             Page 37
                                                                  12 of
                                                                     of 46
                                                                        21



         Roger D. Smalligan, M.D.

        Dr. Smalligan, a physician, has offered the opinion that plaintiffs’ medical problems “are
endemic to the region without regard to any alleged effect of Plan Colombia herbicide spray”.
However, Dr. Smalligan, based on his anecdotal clinical practice experience and medical
knowledge (not based on occupational and environmental medicine training or reference to the
substantial and expanding literature regarding glyphosate and other herbicide exposures) offers
the opinion that the plaintiffs’ medical conditions could not be caused by exposure to GBH from
aerial spraying. While he discusses detailed differential diagnoses of the plaintiffs’ medical
conditions, he inappropriately (and without basis) dismisses GBH exposures as a likely cause of
their problems.

        Dr. Smalligan claims that the timing of the plaintiffs’ medical complaints are not
consistent with “exposure to Plan Colombia herbicide”, contrary to the timely evaluations by Dr.
Maldonado.33 He characterizes the medical histories they provided as unreliable. This
unfortunately dismisses without cause the crucial component of any medical evaluation, the
history provided by the patient. In addition, Dr. Smalligan provides no plausible basis for
disregarding or disbelieving plaintiffs’ medical histories.

        Dr. Smalligan adopts an almost identically incorrect position as Dr. Krieger (see above).
Dr. Smalligan faults the plaintiffs for being unable to provide “physical exam and laboratory or
radiographic studies” to support their concerns regarding medical conditions caused by GBH
aerial spraying. After spending 8 ½ years in Ecuador caring for impoverished patients, Dr.
Smalligan has sufficient experience to know that the plaintiffs’ had limited or no access to
medical care at the times of their exposures and no knowledge and little opportunity to recognize
the relationship of the GBH spraying to their medical problems.

        Finally, Dr. Smalligan has disregarded the medical information available from Dr.
Maldonado’s report and other sources linking Plan Colombia spraying to the medical conditions
of the plaintiffs and other innocent bystanders. I stand by my conclusion above, within a
reasonable degree of medical certainty, that the GBH exposures are the most likely cause of the
plaintiffs’ medical problems, and the exposures are an independent risk factor for the
development of lymphohematopoietic cancers in the future. Dr. Smalligan provides no plausible
or compelling basis to for his opinion that toxic exposures could not be a cause of plaintiffs’
medical complaints.


         Gary M. Williams, M.D.

        Dr. Williams offers the opinion that “the available scientific evidence does not support”
my opinion that plaintiffs’ exposures to GBH from aerial spraying places them at increased risk
for the development of NHL, HCL, and MM in the future. Dr. Williams relies on his own
review of glyphosate and Roundup34 in support of his opinion that these toxic materials are not

33
     See Exhibit “B”.
34
     Williams, 2000

                                                10
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-2 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 38
                                                                13 of
                                                                   of 46
                                                                      21



genotoxic or carcinogenic. Of particular interest, Dr. Williams cites the primary manufacturer
and distributor of glyphosate and glyphosate-based herbicides, the Monsanto Company, as a
significant source of the information on which he based his review in 2000. In my opinion, this
utilization of information from a source with a significant stake in Dr. William’s conclusions is
problematic, at best. In addition, Dr. Williams apparently did not conduct any independent
research to support the opinions in his review.

       In this report, I have included below numerous studies, which confirm that glyphosate
and/or glyphosate-based herbicides have been found by numerous experimental researchers to be
mutagenic and genotoxic in a wide variety of animal species.35 In addition, I have cited a
growing body of epidemiologic literature that has identified G and GBH as causative factors in
NHL, HCL, and MM.36 Finally, I disagree with Dr. Williams’ contention that there is no
available evidence that G and GBH are carcinogenic.


       Seymour Grufferman, M.D.

        Dr. Grufferman relies in part on outdated and incorrect EPA and WHO determinations
that glyphosate is not carcinogenic. The assertion is not “a conclusion that is fully supported by
the epidemiologic evidence.”37 In addition, Dr. Grufferman’s claim that medical monitoring of
those exposed to GBH aerial spraying, including the plaintiffs, would not change the medical
care nor the disease outcomes of these exposed bystanders. It is clear from the plaintiffs’
histories of extreme poverty and lack of reasonable access to medical care (as well as their
historical accounts of seeking care mainly for the most serious signs and symptoms of illness)
that routine healthcare, which we in the United States expect, is not available to the plaintiffs.

        In the plaintiffs’ area of Ecuador, primary prevention of disease involving asymptomatic
individuals (e.g. routine examinations and medical advice) is relatively unavailable. Secondary
prevention, the identification and treatment of asymptomatic patients with risk factors (such as
unmonitored toxic exposures) or preclinical disease without a clinically apparent condition, is
also relatively unavailable to the plaintiffs. Tertiary prevention (e.g., treatment to prevent
complications of diabetes or treatment of an infection in an individual with previously
undiagnosed leukemia) is an unacceptable alternative if earlier intervention is available.38

        My prior recommendation for medical monitoring for this group of plaintiffs would
consist of the type of yearly routine preventive care (including routine laboratory tests, such as a
CBC and comprehensive chemistry and metabolic laboratory panels), to which a large proportion
of Americans have access. Such a medical regime is not “part of routine health maintenance for
well adults or children” in Ecuador, where the plaintiffs reside. Care from a physician on a
routine basis, with availability of followup, is clearly not affordable for the plaintiffs.

35
   De Roos; etc.
36
   De Roos, 2005; Erikkson, 2008; Hardell 1999 and 2002; etc.
37
   Grufferman report, page 6; De Roos, 2005; Erikkson, 2008; Hardell 1999 and 2002;
Paz-y-Mino; etc.
38
   Fisher, 1989

                                                11
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-2 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 39
                                                                14 of
                                                                   of 46
                                                                      21



        Dr. Grufferman is correct in his opinion that we presently have no reliable screening test
for NHL, HCL or MM. However, the routine care that I have described above, currently
inaccessible to and unaffordable for the plaintiffs may result in earlier diagnosis and
improvement in quality of life, if not prolonged survival, in those who develop cancers or other
medical conditions as a result of their GBH exposures. Based on their poverty and limited
access to medical care, it is unlikely that even the early symptoms of NHL, HCL or MM39 would
lead all plaintiffs to seek prompt medical attention.

        In his report, Dr. Grufferman provides an interesting overview of his knowledge of
epidemiology. However, in offering his perspective on Sir Austin Bradford Hill’s article on
association or causation regarding disease and the environment,40 Dr. Grufferman makes the
common error of referring to Dr. Hill’s guidelines for determining causation as criteria. Hill
offers his nine guidelines (listed by Dr. Grufferman) as aspects of the association between two
variables to consider in deciding whether the association is causative. Without going into detail,
I would point out that Dr. Hill advises that neither the lack of adherence to one of his guidelines
nor the even the lack of adherence to several of them is a bar to the ability to conclude causation.
In the case of the plaintiffs, the guidelines of strength of association, consistency of association, a
biologic gradient, biologic plausibility, coherence of an association, and supporting experimental
evidence are exhibited in the experimental and epidemiologic literature regarding the causative
link between GBH exposures and mutagenicity, genotoxicity, and carcinogenicity.41

        Finally, Dr. Grufferman’s reliance on outdated determinations of the lack of
carcinogenicity of glyphosate-based herbicides by EPA and WHO fails to support his opinion
that these herbicides are not carcinogens. In addition, he apparently does not recognize that EPA
standards are not based on the best available scientific knowledge but on political decisions.


Future Medical Care/Medical Monitoring

        As discussed in my December 2010 report, the plaintiffs in this case, are likely, within a
reasonable degree of medical certainty, to be at increased risk for significant adverse health
effects in the future due to their exposures to GBH. Those individuals who have already
experienced and/or been diagnosed with exposure-related medical conditions or diseases which
have persisted, as well as those who will develop exposure-related conditions/diseases in the
future, will need medical care for these conditions/diseases.

        A surveillance regime for the early detection of disease associated with the exposures of
concern is comprised of several components. First, exposed individuals should undergo a yearly
history/physical examination by a physician, including a detailed interval history. Second,
exposed individuals should undergo a variety of clinical tests to identify laboratory and/or
functional abnormalities, which may result from their toxic exposures. Monitoring of children


39
   Grufferman report, page 30
40
   Hill, 1965
41
   De Roos, 2005; Erikkson, 2008; Hardell 1999 and 2002; Paz-y-Miño; etc.

                                                  12
Case 1:07-cv-01042-ESH
Case 3:16-md-02741-VC Document
                       Document 648-9
                                248-2 Filed
                                      Filed 10/27/17
                                            09/30/11 Page
                                                     Page 40
                                                          15 of
                                                             of 46
                                                                21
      Case 1:07-cv-01042-ESH
      Case 3:16-md-02741-VC Document
                             Document 648-9
                                      248-2 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 41
                                                                16 of
                                                                   of 46
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                             Document 648-9
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                                                  09/30/11 Page
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                                                15
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      Case 3:16-md-02741-VC Document
                             Document 648-9
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                                                           Page 43
                                                                18 of
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                             Document 648-9
                                      248-2 Filed
                                            Filed 10/27/17
                                                  09/30/11 Page
                                                           Page 46
                                                                21 of
                                                                   of 46
                                                                      21



                                CERTIFICATE OF SERVICE

       I certify that on February 11, 2011, I served a copy of the foregoing via email and U.S.

first class mail, postage prepaid, on the following counsel for defendants:



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